         Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           )
                                                   )
               v.                                  )   No.    1:21-cr-28-12 (APM)
                                                   )
JOSHUA JAMES,                                      )
                                                   )
                           Defendant.              )

                            GOVERNMENT’S MOTION TO
                    REOPEN THE DEFENDANT’S DETENTION HEARING

       On April 9, 2021, the Court considered the decision of whether to detain the defendant

pending trial a “close call” and ultimately released him, noting in part the lack of evidence that the

defendant had engaged in any violence on January 6. This week, the government discovered video

evidence showing the defendant assaulting law-enforcement officers inside the Capitol building

while screaming “Get out of my Capitol! This is my fucking building!” This evidence has a

material bearing on the Court’s decision as to whether there are conditions that can assure the

safety of the community, thereby warranting reopening the defendant’s detention hearing pursuant

to 18 U.S.C. § 3142(f)(2)(B). The defendant should be detained pending trial.

I.     Background

       On April 6, 2021, the defendant filed a motion for bond review after a United States

Magistrate Judge in the Northern District of Alabama detained the defendant pending trial. The

government opposed the defendant’s motion for release in a filing on April 8, arguing that the

defendant’s coordination with co-defendants, leadership in the January 6 operation, involvement

in planning an armed “quick reaction force” (QRF), and obstructive actions all warranted pretrial

detention. On April 9, 2021, the Court heard arguments from both parties.
           Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 2 of 8




       First, the Court concluded the defendant presented a serious risk of obstruction of justice,

warranting a detention hearing under 18 U.S.C. § 3142(f)(2)(B). The defendant appeared to delete

evidence himself, and he instructed other individuals involved in the January 6 operation to

“delete[] and burn[]” communications as a precaution.

       Second, the Court held the detention hearing and ultimately released the defendant. In its

decision, the Court noted that whether to detain the defendant pending trial was a “close call.” In

fact, the Court found that the defendant was dangerous but concluded there was a combination of

conditions that could reasonably assure the safety of the defendant’s community moving forward.

The Court based its conclusion, in part, on the fact that the government did not present evidence

that the defendant engaged in or planned any violence, such as assaulting law-enforcement

officers, citing United States v. Munchel, No. 21-3010, 2021 WL 1149196, at *8 (D.C. Cir. Mar.

26, 2021).

II.    Argument

       The government has now discovered evidence that the defendant assaulted multiple law

enforcement officers after storming inside the Capitol building. The evidence includes a video

from the defendant’s phone and body-worn camera footage from two law-enforcement officers

involved in the confrontation with the defendant—all of which the government has provided to the

defendant and to the Court as Exhibit One to the government’s motion. 1

       On January 6, 2021, the defendant, co-defendant Roberto Minuta, and others traveled to

the Capitol building together and forced their way inside. The defendant and Minuta both pushed


       1  The pertinent video files include (1) a video from the defendant’s phone (“signal-2021-01-07-
090235”), (2) body-worn camera footage from a Metropolitan Police Department (MPD) Officer (“MPD
Officer Body-Worn Camera Footage 1”), and (3) body-worn camera footage from an MPD Officer (“MPD
Officer Body-Worn Camera Footage 2”). Those three videos are described below and are being provided
to the Court on a disc as Exhibit One.


                                                  2
            Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 3 of 8




past officers who had placed their hands on James’s and Minuta’s chests in an apparent attempt to

stop them from entering. The newly-discovered evidence sheds light on the defendant’s violent

conduct while inside and belies any notion that the defendants merely operated as a security detail

in aid of law enforcement on January 6.

        In a video that appears to have been recorded by Minuta, 2 the defendant can be seen

engaging in a confrontation with a line of law-enforcement officers forming a barrier between the

lobby and the Capitol Rotunda. The officers are surrounded by rioters both in front of them in the

lobby, and behind them in the Rotunda. The defendant, standing in the lobby, yells “let’s go!,”

grabs the shoulder of another individual, and pulls that individual out of the Rotunda and into the

lobby. Standing behind the defendant with the camera, Minuta yells, “This is what’s bound to

happen, just get out! Get out! Get these cops out! It’s our fucking building! Get ‘em out, get

out!”

        As Minuta yells, the defendant turns back to the line of officers clad in riot gear. Other

rioters begin yelling, “Pull the cops out! Pull ‘em out!” The defendant yells, “You want out!?”

and forcefully grabs an officer by the arm. The officer straightens his arm and grabs the

defendant’s shoulder, but the defendant yanks the officer toward the lobby and rioters. The

defendant is seen in the below screenshot with his Oath Keepers patch circled in red as he pulls

the officer out of formation toward the exit.




        2 The video appears to be recorded by co-defendant Minuta based on the positioning of the camera
behind the defendant (where Minuta was standing as seen on Capitol surveillance footage); the voice of the
individual who appears to be holding the camera when compared to other videos depicting Minuta yelling
at law-enforcement officers on January 6, 2021; and the attire of the individual holding the camera, as seen
at about 41 seconds into the video, including goggles and gloves that appear to match what Minuta was
seen wearing that day.

                                                     3
Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 4 of 8




                              4
         Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 5 of 8




       A screenshot of the officer’s body-worn camera footage provides another angle of the

confrontation, clearly showing the defendant’s face.




       The video further shows surrounding officers having to force the defendant to stop pulling

the officer before managing to push the defendant away. The defendant responds by approaching

the officers again and grabbing another officer by both shoulders. The defendant, while

aggressively yanking the officer toward the Rotunda exit, starts screaming, “Get out of my Capitol!

Get out! Get out of my Capitol!” The officer breaks out of the defendant’s grip, but the defendant

tries again to grab the officer’s shoulders and tugs the officer toward the lobby. Then the defendant

grabs a separate officer’s hand and shield before pulling them both toward the lobby. The officer

grabs the shield with both hands to prevent the defendant and others from stealing it. Nearby

rioters join the defendant, and the group successfully rips the shield out of the officer’s hands,

causing the defendant to fall backwards. Below is a screenshot from the officer’s body-worn


                                                 5
         Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 6 of 8




camera footage, showing the defendant in the upper-right corner with his gloved-hand (circled in

red) grabbing the shield and the officer’s hands pulling the shield away from the defendant and

other rioters.




        The defendant then starts jumping and thrashing over other rioters toward the officers,

yelling “This is my fucking building! This is not yours! This is my Capitol!” Capitol surveillance

footage then appears to show the rioters behind the defendant, including Minuta, surging forward

into the Rotunda, pinning the defendant against the officers. The defendant continues to scream,

“This is my building!” A screenshot from an officer’s body-worn camera footage depicts the

moment the defendant throws his body against a law-enforcement officer and yells, “This is my

Capitol!”




                                                6
         Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 7 of 8




       The officers collectively push back against the defendant and other rioters to prevent them

from entering the Rotunda. A struggle ensues among the defendant, other rioters, and the group

of officers, after which the defendant breaches the Rotunda. At least one officer aims OC spray

specifically at the defendant after the defendant’s physical confrontation with the officers.

Multiple officers push the defendant from behind, getting him to exit the Rotunda. Rubbing his

eyes and face after being sprayed, the defendant then retreats into the lobby and eventually exits

the Capitol.

III.   Conclusion

       On January 6, the defendant tried to violently take over the Capitol. In his own words, the

Capitol was “his fucking building.” Law-enforcement tactics were no deterrent: he swerved

around marked-vehicle blockades as he rushed to the Capitol, pushed past an officer as he stormed

inside, and physically assaulted riot officers in an attempt to get them “out of [his] Capitol.” Law


                                                 7
         Case 1:21-cr-00028-APM Document 163 Filed 04/16/21 Page 8 of 8




enforcement had to pepper spray the defendant and push him before he finally exited. No condition

or combination of conditions can reasonably assure the safety of the community, and the defendant

should be detained pending trial.



                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES ATTORNEY



                              By:
                                     Troy A. Edwards, Jr.
                                     Assistant United States Attorney
                                     N.Y. Bar 5453741
                                     Ahmed M. Baset
                                     Jeffrey S. Nestler
                                     Kathryn Rakoczy
                                     Assistant United States Attorneys
                                     U.S. Attorney’s Office for the District of Columbia
                                     555 4th Street, N.W.
                                     Washington, D.C. 20530


                                     /s/ Alexandra Hughes
                                     Alexandra Hughes
                                     Justin Sher
                                     Trial Attorneys
                                     National Security Division
                                     United States Department of Justice
                                     950 Pennsylvania Avenue
                                     NW Washington, D.C. 20004




                                               8
